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                           UNITED STATES DISTRICT COURT
                       IN THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                           Case No: 11-20129
                     Plaintiff,                                     11-20066

v.                                                         Hon: Robert H. Cleland

D-10 VERNON NELSON RICH, et al.

                  Defendant.
_________________________________________/

  ORDER ALLOWING COUNSEL TO USE LAPTOP COMPUTER FOR
REVIEW OF DISCOVERY WITH DEFENDANT VERNON NELSON RICH

              At a session of Said Court, held in the United States District Court
                              in the Eastern District of Michigan,
                            Southern Division, on: July 16, 2013

                        PRESENT: HON. ROBERT H. CLELAND
                       UNITED STATES DISTRICT COURT JUDGE

       IT IS HEREBY ORDERED that Attorney Juan A. Mateo shall be permitted to use a laptop

computer to review discovery materials that have been produced in this case when he consults

with Defendant Vernon Nelson Rich (Inmate # 123813) at the St. Clair County Jail.

       IT IS SO ORDERED.

                                                           S/Robert H. Cleland
                                                           Hon. Robert H. Cleland
